

People v Boyd (2020 NY Slip Op 06682)





People v Boyd


2020 NY Slip Op 06682


Decided on November 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 13, 2020

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, NEMOYER, AND TROUTMAN, JJ. (Filed Nov. 13, 2020.) 


MOTION NO. (608/08) KA 05-01153.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vPRESTON BOYD, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








